        Case 1-18-45085-cec            Doc 39          Filed 06/20/19     Entered 06/20/19 10:03:28


                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------x
 In re:


 Helen H Gluck                                                               Case No. 18-45085-cec
                                                                             Chapter 7
                                     Debtor
 --------------------------------------------------x

                                 LOSS MITIGATION FINAL REPORT

 Name of Lender: Nationstar Mortgage LLC d/b/a Mr. Cooper

 Property Address: 1966 62ND ST, BROOKLYN, New York 11204

 Last Four Digits of Account Number of Loan: 3565

 File Date of Request for Loss Mitigation: 10/31/2018

 Date of Entry of Order Granting Loss Mitigation: 11/20/2018

 Date of Entry of Order Approving Settlement (if any):

 Other Requests for Loss Mitigation in this Case:                   Yes        No

  The use of the Court's Loss Mitigation Procedures has resulted in the following (please
 check appropriate the box below):

         Loan modification.
         Loan refinance.
         Forbearance
         Short sale.
         Surrender of property.
         No agreement has been reached.
         Other:




Dated: June 20, 2019                                          Signature: /s/ Robyn E. Goldstein
                                                                        Robyn E. Goldstein, Esq.
                                                                        Attorney for Secured Creditor
